
*893OPINION.
Lansdon:
The evidence is conclusive that the petitioner was entitled, subject to the limitations of section 214(a) (11) (B) of the Eevenue Act of 1921, to deduct the amount of $1,000 from his gross income in his income-tax return for the year 1922 as a contribution to a religious organization, and that he is entitled to a deduction of $160 to cover depreciation of buildings in addition to the amount of $140 originally claimed under the erroneous title of loss on property. We are unable to determine from the evidence that the amounts which the petitioner remitted to Poland, as contributions to the support of the five orphan children of his brother, constituted the chief support of such children, or whether the entire amounts so remitted were used for the purposes alleged. We therefore disallow his claim for exemption on account of five additional dependents.

Judgment will he entered on 20 days’ notice, under Rule 50.

